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                                   #: 3997




                   Thomas-Jensen
                    Affirmation



                       Exhibit # 57
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                                   #: 3998
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                      EXHIBIT A
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                                       #: 4004




 Office of the President                                                Phone: 617-287-7050
 One Beacon Street, 31st Floor                                             Fax: 617-287-7167
 Boston, Massachusetts 02108                                          www.massachusetts.edu




 To:            Thomas Smith-Vaughan; Christopher Marino
 From:          LeeAnn Pasquini
 CC:            Amelia Marceau, Lisa Calise, Joseph Skrzek
 Subject:       Potential Impacts of Federal Funding Pause
 Date:          January 31, 2025


 Purpose:

 The purpose of this memorandum is to provide an overview of the potential impacts of a
 federal funding pause. Please note, we are working with campuses to understand any
 direct communications from federal agencies. This memo is not based on guidance
 received but rather potential impacts.

 Background:

 The University of Massachusetts educates the workforce of the future in the
 Commonwealth of Massachusetts and plays a unique role in fueling the Innovation
 Economy that has helped Massachusetts thrive in difficult economic times. Scientific
 research at the University of Massachusetts has led to the amazing innovations and
 discoveries that expand knowledge and are the bedrock of new industries and businesses
 that create jobs and boost our economy. Any disruption to sources that fund these efforts
 will have certain impacts on scientific research and innovation.

 Additionally, federal financial aid for our students is a vital source of funding for our
 students to be able to have the opportunity to attend higher education and receive the
 necessary education to improve their skills and knowledge to enter today’s workforce. Our
 students are critical to our economy as approximately 80 percent of our graduating
 students stay in Massachusetts to work and live.

 The anticipated expenditures from federal awards in FY25 total approximately $961 million,
 including approximately $416 million in federal student aid. Of the total anticipated
 expenditures, $597 million has been spent to date including approximately $280 million in
 student aid. Throughout the course of the fiscal year, some of these expenditures support
 the approximately 2,000 employee FTEs whose salaries are funded by restricted funding,
 which includes but is not limited to federal grants. More analysis would be needed to
 determine the number of FTEs funded just with federal grants. To date, some of the awards
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 have been granted while others are estimated based on opportunities identified by
 researchers. However, a federal funding pause could impact the University in the following
 ways:

    x   New grants will have delayed awards

    x   Potential inability to draw down funds through the federal payment management
        system

    x   Submission of new grants could likely be submitted but will sit in pending status in
        system

    x   Federal grants / contracts underway may not have invoices paid

    x   Final Financial Reports submitted will sit in pending status, preventing any
        carryforward of funds to future periods

    x   Delays in student financial aid from federal sources

    x   Impacts to forHealth Consulting contracts with federal agencies

 In the event of a federal funding pause, the University would need to utilize existing
 operating funds currently programmed to other areas of the budget, cash reserves, or the
 University’s line of credit to fund costs while Federal awards are pending. Depending on
 the length of time until federal funding is restored, the use of these funds could become a
 concern quickly. Additionally, there could also be delays in processing new student
 requests for federal financial aid.

 The University is evaluating the funds available and the length of time they would be
 available for use before programming would need to stop. Contingencies in place for a
 federal funding pause are limited other than to use other operating funds, cash reserves,
 or the line of credit on a contingency basis. The main concern is the length of the time until
 federal funding is restored as the contingency resources are limited.

 Generally, it is difficult to know the exact impact at a program level until we receive further
 guidance from each of the federal agencies, however the University will continue to
 monitor our various sources in the event of a federal funding pause occurring. If the
 federal dollars are not available, the associated work may be required to stop. The factors
 that will determine the University’s course of action include the length of time until federal
 funding is restored, as well as the timing of a federal funding pause as grant work increases
 at various points in the year.




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                       EXHIBIT B
Case 1:25-cv-00039-JJM-PAS                                                                                                                                                                                                                                                 Document 68-57            Filed 02/07/25         Page 11 of 17 PageID
                                                                                                                                                                                                                                                                                  #: 4007

       From:                                                                                                                                                                                                                                           Barton, Denise
       To:                                                                                                                                                                                                                                             Barton, Denise
       Subject:                                                                                                                                                                                                                                        EXHIBIT TO DECLARATION FW: UMass Impact / FEDERAL - CDC NOTICE TO IMMEDIATELY SUSPEND WORK /
                                                                                                                                                                                                                                                       Subrecipients and Implementing Partners on CDC-funded programs
       Date:                                                                                                                                                                                                                                           Wednesday, February 5, 2025 2:46:23 PM
       Attachments:                                                                                                                                                                                                                                    CDC_Notice to Subawards_2.4.2025.pdf
                                                                                                                                                                                                                                                       CDC Directive_DEI_1.29.2025.pdf
                                                                                                                                                                                                                                                       CDC Directive_Gender Ideology.pdf




   Denise Barton
   Chief Deputy General Counsel
   University of Massachusetts
   50 Washington Street
   Westborough, Massachusetts 01581


   Notice: This is a communication from the University of Massachusetts Office of the
   General Counsel. If you are not the intended recipient or believe you have received
   this email in error, please delete this email and notify the sender.


   From: Barton, Denise <DBarton@umassp.edu>
   Sent: Wednesday, February 5, 2025 12:13 PM
   To: Barton, Denise <DBarton@umassp.edu>
   Subject: UMass Impact / FEDERAL - CDC NOTICE TO IMMEDIATELY SUSPEND WORK / Subrecipients
   and Implementing Partners on CDC-funded programs



   From: Martin Domack <mdomack1@jhu.edu>
   Sent: Tuesday, February 4, 2025 5:14 PM
   To: Martin Domack <mdomack1@jhu.edu>
   Subject: **URGENT** / FEDERAL - CDC NOTICE TO IMMEDIATELY SUSPEND WORK / Subrecipients
   and Implementing Partners on CDC-funded programs
   Greetings, Please find the attached notice to immediately suspend work. If you experience any difficulties opening the documents, please let me know. The Johns Hopkins University will communicate updates from the federal agency as we receive




   Greetings,

   Please find the attached notice to immediately suspend work. If you experience any difficulties
   opening the documents, please let me know. The Johns Hopkins University will communicate
   updates from the federal agency as we receive them. We appreciate your continued partnership and
   cooperation.

   Please confirm receipt of this notice by replying to this email. Thank you.

   Regards,
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                                           #: 4008

   Martin Domack
   Contracts Associate - Subawards
   Johns Hopkins University Research Administration
   1101 E. 33rd St, Suite C310
   Baltimore, MD 21218-2681
   667.208.8781
   mdomack1@jhu.edu
   https://research.jhu.edu/jhura/
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                                                  #: 4009



  February 4, 2025



  To:     Subrecipients

  From: The Johns Hopkins University

  Re: Notice on Implementation of Executive Orders

  NOTICE TO IMMEDIATELY SUSPEND WORK

  The Johns Hopkins University (JHU) has received notice pursuant to the above referenced Centers for
  Disease Control and Prevention Notice on Implementation of Executive Orders (“CDC Directive”
  attached to this communication) that all CDC-funded all activities promoting diversity, equity, and
  inclusion (“DEI”) and related to promoting or inculcating gender ideology under the CDC-funded
  subaward or subcontract must be suspended immediately as of the date of this notice. Therefore, we
  advise you to immediately suspend all DEI- or gender ideology-related activities.

  No additional costs must be incurred that would be used to support any DEI programs, personnel, or
  activities. No additional costs must be incurred that would be used to support any gender ideology
  programs, personnel, or activities.

  JHU will communicate updates from CDC as we receive them. We appreciate your continued partnership
  and your cooperation.

  Please confirm receipt of this notice.
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                      EXHIBIT C
Case 1:25-cv-00039-JJM-PAS                Document 68-57               Filed 02/07/25           Page 15 of 17 PageID
                                                 #: 4011

   From:            Barton, Denise
   To:              Barton, Denise
   Subject:         EXHIBIT FOR DECLARATION RE UMass Impact FW: IIE Request for Lincoln Scholarship Program during Foreign
                    Aid Pause
   Date:            Wednesday, February 5, 2025 2:58:57 PM
   Attachments:     image001.jpg




          From: <@umb.edu>
          Date: February 4, 2025 at 11:04:05ௗPM EST
          To: <@umb.edu>
          Subject: Fw: IIE Request for Lincoln Scholarship Program during Foreign
          Aid Pause



          I received this message from IIE today about [redacted student name], a
          student in our MA in conflict resolution graduate program whose scholarship
          is USAID funds and who is thus currently affected by the USAID freeze from
          the federal government and the new administration.

          They are asking about what flexibility UMB can offer on tuition payments
          and/or potential resources to ensure that this student can complete her
          studies in case the freeze extends or is escalated ([they are in their] last
          semester and on track to complete [their] MA at the end of this semester).

          Can you give any guidance on what can be done, how to respond, etc.? I
          received the message, because I am [redacted student’s name]'s academic
          advisor, but I have also cc'ed the GPD of the conflict resolution program, and
          our department chair. I'm keeping the bursar's office cc'ed and in the loop
          because she was copied on the initial e-mail from IIE as well.
          Thanks,

          McCormack School of Policy & Global Studies, University of Massachusetts, Boston




          From: Combe, Hannah <HCombe@iie.org>
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                                          #: 4012

       Sent: Tuesday, February 4, 2025 4:00 PM
       To: <@umb.edu>;
       Cc: Wahib, Youssie <YWahib@iie.org>
       Subject: IIE Request for Lincoln Scholarship Program during Foreign Aid Pause


          Some people who received this message don't often get email from
          hcombe@iie.org. Learn why this is important
       CAUTION: EXTERNAL SENDER


       Dear,



       As you may have read, the U.S. Government released an executive order requiring
       a pause in all foreign development assistance, pending the administration’s
       review.ථ



       Following that announcement, IIE received communication from USAID to
       immediately stop work on the Lincoln Scholarship Program and indicated IIE
       would be receiving further guidance from USAID without providing a firm
       timeline.ථ IIE has been diligently working to understand the scope and next steps
       related to the executive order.



       During this period, we are aware that there are Spring 2025 tuition and required
       fees costs for [redacted student name] owed. IIE is concerned for the scholar’s
       well-being given these unprecedented circumstances and are hopeful that UMass
       Boston can assist in order to enable the scholars to complete their programs and
       remain in good standing vis a vis their immigration status. I am writing to make
       two inquiries:

          1. IIE requests a temporary delay in invoicing IIE while we are analyzing the
             situation and awaiting further guidance from USAID without putting a hold
             on the scholar(s) student accounts.

          2. Should the project be terminated, IIE would like to inquire what resources,
             if any, your university may be able to provide to scholars to ensure that
             they are able to continue their programs at your university.

       Please respond and let me know what the last possible date is by which these
       invoices can be paid by IIE to ensure that the scholar(s) will retain their
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       enrollment status, access to health insurance, and all other benefits and
       university-provided services related to invoice payment, as well as what resources
       may be available for point #2.



       I suggest that we arrange a call to discuss further, please let me know and we
       can arrange a meeting at your earliest convenience.

       We greatly appreciate any consideration you can give to this request.

       All best,
       Hannah



       Hannah Combe (She/her/hers)

       Senior Program Manager, USAID Programs
       Institute of International Education
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       Tel +1.202.326.7686
       HCombe@iie.org • iie.org
       IIE • The Power of International Education
